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                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
AFM:MS                                               271 Cadman Plaza East
F. #2024R00943                                       Brooklyn, New York 11201



                                                     June 9, 2025

By ECF

The Honorable Taryn A. Merkl
United States Magistrate Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:     United States v. Iurii Gugnin
                       Criminal Docket No. 25-191 (NRM)

Dear Judge Merkl:

                The government respectfully submits this letter in support of its application for a
permanent order of detention for the defendant Iurii Gugnin. The defendant conceived and
carried out a $500 million scheme to evade sanctions and export controls and launder funds on
behalf of entities in Russia, including Russia’s state atomic energy corporation. He was arrested
today in Manhattan and will be arraigned before Your Honor on a 22-count indictment charging
him with wire fraud, bank fraud, violations of the International Emergency Economic Powers
Act (“IEEPA”), money laundering, and other offenses.

                The defendant is a Russian national who entered the United States only three
years ago on a temporary visa and has no permanent ties to this country. He has access to
significant wealth both here and abroad. He has contacts with government officials in Russia
and Iran—countries that do not extradite to the United States—including with members of
Russia’s intelligence services. And his sweeping foreign ties include property he owns and rents
overseas, foreign bank accounts and companies, family members in Russia, and frequent
international travel, including to at least 34 different countries on 73 occasions.

                The defendant is also a practiced liar who made false statements to at least 10
different financial institutions, as well as to Florida state regulators. And he now has a powerful
incentive to flee: he faces counts with statutory maximum sentences of up to 30 years’
incarceration and an overwhelming body of inculpatory evidence, as detailed in the grand jury’s
53-page speaking indictment. Simply put, this defendant has every reason to flee this
jurisdiction and the connections and resources to do so. Because no set of conditions can
mitigate his extreme risk of flight, he should be detained pending trial.
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I.     Relevant Background1

       A.      The Charged Conduct

                 On June 6, 2025, a grand jury sitting in this District returned a 22-count
indictment against the defendant for wire and bank fraud, conspiracy to defraud the United
States, violations of IEEPA, operating an unlicensed money transmitting business, failing to
implement an effective anti-money laundering compliance program, failing to file suspicious
activity reports, money laundering, and related conspiracy charges. As detailed in the
indictment, the defendant is the founder, president, treasurer, and compliance officer of Evita
Investments, Inc. (“Evita Investments”) and Evita Pay, Inc. (“Evita Pay”) (collectively, “Evita”).
Through Evita, the defendant regularly facilitated international payments for foreign customers
that totaled in the hundreds of millions of dollars in a variety of fiat- and crypto-currencies. In
doing so, he enabled his customers, many of whom held funds at sanctioned Russian banks, to
provide the defendant with cryptocurrency, which he then laundered through cryptocurrency
wallets and U.S. bank accounts. In the process, the funds were disassociated from their source,
disguising the audit trail and hiding the true counterparties to the transactions.

                The indictment describes four separate unlawful schemes engaged in by the
defendant. The first is a bank fraud and wire fraud scheme in which the defendant lied to at least
10 different financial institutions about the nature of Evita’s business. This included repeatedly
denying that Evita did business with customers in Russia, falsely representing that Evita
followed rigorous compliance procedures and complied with financial sanctions, and offering
false explanations for why Evita Investments had not registered as a money transmitting
business. The defendant also lied to Florida state regulators about the nature and expected
volume of Evita Pay’s business, in order to obtain a money transmitter license. He then used that
fraudulently obtained license to induce a U.S. cryptocurrency exchange to process transactions
on his behalf.

                 The second scheme is a scheme to evade financial sanctions. The defendant
willfully facilitated the movement of funds held at sanctioned Russian banks, including PJSC
Sberbank, PJSC Sovcombank, PJSC VTB Bank, and JSC Tinkoff Bank. He also transacted in
his personal accounts at sanctioned Russian banks while residing in the United States, including
JSC Alfa-Bank and PJSC Sberbank. At least one of the payments from a sanctioned bank was to
purchase parts on behalf of Russia’s state-owned nuclear energy company, Rosatom.2



       1
         The government may present evidence in favor of detention through proffer. See
United States v. LaFontaine, 210 F.3d 125, 131 (2d Cir. 2000) (finding district courts may
properly rely on proffered evidence in detention and bail revocation hearings). Further,
evidentiary rules concerning admissibility “do not apply to the presentation and consideration of
information at [a bail] hearing.” 18 U.S.C. § 3142(f)(2)(B).
       2
         While Rosatom itself is not sanctioned, nearly 70 Rosatom subsidiaries, employees,
and/or board members are subject to U.S. sanctions. See U.S. Department of State, Sanctions to
Degrade Russia’s Energy Sector (January 10, 2025), available at https://2021-

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                The third scheme is a scheme to evade export controls. The defendant facilitated
payments on behalf of entities and individuals in Russia to purchase sensitive electronics
designed by U.S. technology companies. One of these payments, for example, was for a
computer server that was export-controlled for anti-terrorism reasons. The defendant
intentionally altered an invoice for that transaction to hide the name and location of the Russian
purchaser of the server.

               The fourth scheme is a scheme to violate the Bank Secrecy Act. Although the
defendant represented to banks and cryptocurrency exchanges that Evita followed rigorous anti-
money laundering and know-your-customer requirements, in practice the defendant flouted those
requirements, as well as the requirement to file reports of suspicious activities with the Financial
Crimes Enforcement Network (“FinCEN”).

               To operate his illicit business, the defendant relied on encrypted communications
and routinely took steps to cover his tracks. Evita’s website specifically directed customers to
contact him over the encrypted messaging platform Telegram, an application the defendant also
used to chat with executives at cryptocurrency exchanges. The defendant’s web search history
shows that he sought to delete his chats, including, for example, searching for “how to clear
telegram cache on mac,” and “telegram webpage bot clear cache.” He also visited a webpage
titled “How to clear-delete telegram cache on iPhone, iPad, Android, Windows, or Mac.” To
conceal his activities, the defendant also obfuscated more than 80 invoices by digitally “whiting
out” the names and addresses of his Russian customers.

                The defendant’s online activity demonstrated his knowledge of the sanctions and
export controls he was evading, including by searching for “ofac sanctions”3 and “reason for iran
sanctions.” He also visited a Department of Commerce website titled “Russia Export Controls –
List of Common High Priority Items.” Even more, the defendant’s web activity showed his
awareness generally that he was breaking the law, including by searching for “how to know if
there is an investigation against you”; “evita investments inc. criminal records search”; “Iurii
Gugnin criminal records”; “money laundering penalties US”; and “penalties for sanctions
violations EU luxury goods.” The defendant also visited website pages titled, respectively, “am I
being investigated?”; “signs you may be under criminal investigation”; and “what are the best
ways to find out if you’re being investigated and what can someone do when they think they
might be under investigation.” Despite being aware of applicable laws and the significant
potential penalties for violating them, the defendant continued his illicit business through the
date of his arrest.




2025.state.gov/office-of-the-spokesperson/releases/2025/01/sanctions-to-degrade-russias-energy-
sector/.
       3
        “ofac” refers to the Office of Foreign Assets Control, an office within the U.S.
Treasury Department that administers financial sanctions programs.


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       B.      The Defendant

                The defendant is a Russian national who entered the United States in June 2022.
He was granted an O-1A visa, a type of temporary status afforded to individuals who purportedly
possess extraordinary abilities, and that lasts for a period of three years, absent extension. He
currently has a pending application for lawful permanent resident status, but that application has
not been approved.

                The defendant holds himself out as an entrepreneur and thought leader in
“Fintech” or financial technology, particularly cross-border payments. In practice, the defendant
is an expert at moving money around the world while hiding its source and the purpose of the
transfers.

                The defendant’s customers are primarily located in Russia—a fact that, as noted,
he lied about repeatedly to various financial institutions. In addition to Russia, the defendant’s
business also involved China, South Korea, India, Türkiye, Hong Kong, Singapore, the United
Arab Emirates (“UAE”), and other countries. As part of operating Evita, the defendant
maintained a virtual private server, through which clients would contact the defendant to submit
requests for cross-border payments. The defendant’s virtual private server routinely
communicated with internet protocol (“IP”) addresses hosted by internet service providers in
Russia, Iran, China, and Belarus—none of which countries extradites to the United States.

                The defendant has connections with government officials in Russia and Iran who
could help facilitate his flight from prosecution, including members of Russia’s intelligence
services. Specifically, the defendant’s Apple iCloud account contains saved contacts for
multiple officials from Russia’s Federal Security Service (“FSB”), the main successor agency to
the Soviet Union’s KGB; an assistant to a member of the Russian State Duma, Russia’s lower
house of parliament; an advisor to a high-level official at Rostec, a Russian state-owned defense
conglomerate subject to U.S. sanctions; an individual with an Iranian phone number saved as
“[name] Iran gov”; and another individual with an Iranian phone number saved under “Iran
Crypto Grain.” The defendant’s iCloud account also contains a series of saved notes describing
a proposed scheme to launder funds on behalf of a particular FSB official through China, “with
the possibility of hiding data on trade transactions from the United States”; as well as a business
proposal that involved integrating “Russian bank’s servers with Iranian ones.”

               In addition to extensive contacts in Russia, Iran, and other countries, the
defendant’s operation of Evita has provided him with access to substantial wealth. In less than
two years, the defendant laundered approximately $530 million through bank accounts and
cryptocurrency wallets under his control. He resides in a luxury apartment in Manhattan, for
which he currently pays approximately $19,000 per month in rent.4


       4
         The defendant’s residence in a luxury Manhattan apartment was the subject of a Wall
Street Journal report. See Wall Street Journal, These Millionaires Can Afford Their Dream
Home. They’re Renting Instead (September 16, 2024), available at
https://www.wsj.com/economy/housing/these-millionaires-can-afford-their-dream-home-theyre-
renting-instead-2cc86a73?gaa_at=eafs&gaa_n=ASWzDAjyYzYdWnDtz1wGEl-

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                 The defendant also controls numerous foreign financial accounts and corporate
entities, all of which could assist him in fleeing overseas. He has at least six accounts held at
sanctioned Russian bank JSC Alfa-Bank, including both ruble- and dollar-denominated accounts.
He has at least one account held at sanctioned Russian bank PJSC Sberbank. He controls bank
accounts in the name of Evita Investments in Germany, France, and Ireland. And he owns at
least 50% of several international affiliates of Evita Investments, including entities incorporated
in Nigeria, India, and the United Kingdom.

                When the defendant applied for his O-1A visa in 2022, he indicated that his main
residence was in Moscow, Russia, and that he also maintained a “country-side” residence in
Novoselovo, Russia. He also rents a property in the United Kingdom and purchased a separate
property for three million Euros in Cyprus. And while the defendant’s spouse and two children
moved with him to New York in the last three years, he has no other known family in the United
States and his mother still resides in Russia.

                 As part of his visa application, the defendant stated that, between 2010 and 2022,
he had traveled abroad to 34 different countries on 73 occasions. He possesses a Russian
passport and a resident identity card in the United Arab Emirates (“UAE”), and has obtained
visas to travel to China, Nigeria, Japan, the United Kingdom, Italy, France, and other countries.
The defendant’s web search history indicates that his interest in international travel continued
after arriving in the United States. In 2023 and 2024, he conducted web searches for the
following search terms, among others: “can I travel.to Mexico without passport only green card,”
british passport,” “buy granada passport,” and “israeli passport no visa us.”

                The defendant set up a global money laundering and sanctions evasion operation
and showed ingenuity in covering his tracks. Now that he has been charged in connection with
that operation, it is overwhelmingly likely that, if released, he will use his overseas assets and
connections to flee the jurisdiction.

II.    Legal Standard

                Under the Bail Reform Act, Title 18, United States Code, Section 3141, et seq.,
federal courts must order a defendant’s detention pending trial upon a determination that the
defendant is either a danger to the community or a risk of flight. See 18 U.S.C. § 3142(e) (a
judicial officer “shall” order detention if “no condition or combination of conditions would
reasonably assure the appearance of the person as required and the safety of any other person and
the community”). A finding of risk of flight must be supported by a preponderance of the
evidence. See United States v. Jackson, 823 F.2d 4, 5 (2d Cir. 1987).

               In addition, the Bail Reform Act lists the following factors to be considered in the
detention analysis: (1) the nature and circumstances of the offenses charged; (2) the weight of the

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PX8dGgqTG9FGVgXYuLuPj3ohIhfvxERJESg3h_7Hw%3D%3D.


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evidence against the defendant; (3) the history and characteristics of the defendant; and (4) the
nature and seriousness of the danger to any person or the community that would be posed by the
defendant’s release. See 18 U.S.C. § 3142(g).

                The Bail Reform Act also provides that where a defendant “is not a citizen of the
United States or lawfully admitted for permanent residence,” and “such person may flee,” the
judicial officer before whom the defendant makes his initial appearance “shall order the
detention of such person, for a period of not more than ten days, excluding Saturdays, Sundays,
and holidays, and direct the attorney for the Government to notify . . . the appropriate official of
the Immigration and Naturalization Service. If the official fails or declines to take such person
into custody during that period, such person shall be treated in accordance with the other
provisions of this section.” 18 U.S.C. § 3142(d).

III.   The Defendant Should be Detained Pending Trial

                The statutory factors under the Bail Reform Act counsel heavily in favor of
detention. The government has more than met its burden to show by a preponderance of the
evidence that, if released, the defendant poses an irremediable risk of flight.

                 First, there can be no serious dispute that Gugnin has the resources, means, and
connections to flee prosecution. The defendant’s worldwide money laundering operation has
granted him access to substantial wealth. He has robust overseas connections, including to the
Russian intelligence apparatus and Iranian government. He maintains bank accounts and
companies overseas. And he is experienced in surreptitiously moving money around the world
and altering and deleting records to conceal his activities. The defendant could take advantage of
all of this to help facilitate his escape from justice.

                This is not merely a hypothetical concern. In a recent case charged in the Eastern
District of New York, Artem Uss, a Russian procurement agent alleged to have violated U.S.
export laws, was arrested in Italy and—over the United States’s objections—released to home
detention pending his extradition to this District.5 Uss then fled prosecution with the assistance
of a Serbian organized crime group which smuggled him out of Italy and across several
international borders before finally boarding a flight to Russia. Today, Uss remains an
international fugitive.6


       5
        See United States v. Orekhov et al., No. 22-CR-434 (E.D.N.Y.); Press Release, Five
Russian Nationals and Two Oil Traders Charged in Global Sanctions Evasion and Money
Laundering Scheme, available at https://www.justice.gov/usao-edny/pr/five-russian-nationals-
and-two-oil-traders-charged-global-sanctions-evasion-and-money (last visited Jan. 22, 2024).
       6
         See United States v. Jovancic, No. 23-CR-430 (E.D.N.Y.) (criminal case against
individuals who aided in the escape of Uss); Press Release, Bosnia and Herzegovina National
Arrested for Aiding Escape of Russian Defendant, available at
https://www.justice.gov/opa/pr/bosnia-and-herzegovina-national-arrested-aiding-escape-russian-
defendant (last visited Jan. 22, 2024).


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                 Second, Gugnin has extensive ties abroad and no permanent ties to this country.
He has been in the United States for only three years, on a temporary visa. He has family,
citizenship, real estate, and bank accounts in Russia. Before coming to the United States, the
defendant engaged in constant international travel. And he has expressed an interest in obtaining
citizenship in additional foreign countries, including Grenada, the United Kingdom, and Israel.
Even with his passports confiscated, the defendant could easily obtain a new passport from the
Russian embassy or consulate or through his international connections, then cross the border and
flee to Russia. And although his wife and two children live with him in the United States, they
could simply depart the country and join the defendant once he is safely beyond the reach of U.S.
law enforcement. See United States v. Baig, 536 F. App’x 91, 93 (2d Cir. 2013) (affirming
detention order in part because the defendant “though a permanent resident of the United States,
is a citizen of Pakistan and maintains ties there”); United States v. Bonilla, 338 F. App’x 78, 80
(2d Cir. 2010) (finding detention appropriate even though the defendant “had close family in
New York and had surrendered his passport” because “he posed a flight risk because he had
relatives in the Dominican Republic and had made frequent trips there in recent years”).

                Third, the defendant has shown no hesitation about lying and cheating to get what
he wants. This is not a defendant who regrettably lied on a few occasions. The defendant
habitually lied and falsified records in service of a globe-spanning, half-billion-dollar money
laundering and sanctions evasion scheme. Over and over again—to essentially every financial
institution he dealt with—the defendant told blatant lies about the nature of Evita’s business,
including whether he conducted business with Russian clients and complied with sanctions.
Given this record, any assurance the defendant offers about his intent to appear in court simply
cannot be trusted. See United States v. Boustani, 932 F.3d 79, 83 (2d Cir. 2019) (upholding
detention of fraud defendant as flight risk due to the strength of the government’s evidence and
the defendant’s “alleged deceptive actions, access to substantial financial resources, frequent
international travel, complete lack of ties to the United States, and extensive ties to foreign
countries without extradition”); United States v. Nouri, No. 07-CR-1029, 2009 WL 2924334, at
*2 (S.D.N.Y. Sept. 8, 2009) (Chin, D.J.) (finding defendant presented “substantial risk of flight”
based, in part, on “dishonest and obstructive conduct,” including “commit[ting] fraud on his
investors”).

                Fourth, the defendant has every incentive to flee. He faces a statutory maximum
sentence of 30 years in prison on the bank fraud charges alone, and, if convicted on all counts, a
consecutive maximum sentence significantly longer than his lifetime. Given the more than $500
million laundered through his scheme, the defendant’s leadership role, his use of sophisticated
means, the numerous charged counts, and the impact on national security, it is fair to anticipate
that he will receive a substantial sentence if convicted. See United States v. Zhang, 55 F.4th 141,
151 (2d Cir. 2022) (“The prospect of a severe sentence can create a strong incentive for a
defendant to flee and thereby avoid that sentence.”). The evidence against Gugnin is
overwhelming, including business and financial records, detailed ledgers, email communications
with co-conspirators, falsified invoices, and online searches demonstrating his state of mind.
See United States v. Rounds, 2015 WL 6604007, at *1 (2d Cir. Oct. 30, 2015) (finding that the




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“gravity of the charges and the strength of the evidence on which [the defendant’s] detention was
based . . . counsel[s] against release”).

                 Finally, in light of this record, there is no set of conditions that could assure the
defendant’s appearance in Court. Any significant bond package would create little incentive for
the defendant to appear given his access to significant wealth—much of which appears to be
overseas and/or stored in cryptocurrency. Nor would any surety or third-party custodian mitigate
his risk of flight. The defendant could easily reimburse any surety for losses arising from his
nonappearance. At the same time, the defendant could likely conceal any plans to abscond from
any third-party custodian—just as he concealed the existence of his Russian clients from
virtually every legitimate business partner of Evita. Any home detention and/or electronic
monitoring in lieu of detention would not mitigate the risk of flight either, and instead “at best
elaborately replicate a detention facility without the confidence of security such a facility
instills.” United States v. Millan, 4 F.3d 1039, 1049 (2d Cir. 1993) (citations omitted); see also
United States v. Orena, 986 F.2d 628, 632 (2d Cir. 1993) (“[E]lectronic surveillance systems can
be circumvented by the wonders of science and of sophisticated electronic technology.”)
(citations omitted). This comports with the Second Circuit’s recent holding that the Bail Reform
Act does not permit a two-tiered bail system where wealthy defendants are effectively released to
self-funded private jails. See United States v. Boustani, 932 F.3d 79, 82 (2d Cir. 2019). Indeed,
the Court in Boustani affirmed detention based on flight risk alone for a defendant facing non-
violent, white-collar charges who demonstrated the incentive and means to flee, as well as ties to
foreign countries without extradition. Id. at 82-83. The same holds here, where electronic
monitoring and home detention would not cure the overwhelming risk of flight posed by this
defendant.7


               7
                  Recent history in this district bears this out, with numerous defendants fleeing
or otherwise attempting to thwart electronic monitoring after being released pretrial. See United
States v. Dali, 24-MJ-645 (JAM) (defendant cut her location monitoring device while on pretrial
release and absconded to Canada, where she was apprehended at the border); United States v.
Horst Jicha, 23-CR-342 (OEM) (defendant charged with securities fraud and associated crimes
cut his location monitoring device while on pretrial release and absconded days before he was
supposed to appear for a status conference and remains at large); United States v. Tony Clanton,
23-CR-328 (KAM) (defendant cut his location monitoring device on the eve of trial); United
States v. Georges Barker, 23-MJ-27 (SIL) (defendant in an extradition proceeding tampered with
his location monitoring bracelet on two occasions before he was remanded); United States v.
William Bartell, 22-CR-80 (EK) (defendant charged with multiple bank robberies cut his
location monitoring device and absconded within one week of being released on bail due to
medical issues); United States v. Joey Macario, 22-CR-342 (HG) (defendant charged with fraud
absconded after removing his location monitoring device and discarding it on the subway tracks
moments after being released to attend drug treatment); United States v. Dewayne Tripp, 22-CR-
336 (MKB) (defendant absconded instead of appearing at a bond revocation hearing and was
only located after being arrested for a domestic violence incident); United States v. Marius
Lacatis, 22-CR-190 (BMC) (defendant, a Romanian national involved in a fraud conspiracy, was
released on bond following his arrest in California and ordered to report to the Eastern District of
New York; instead, he cut his location monitoring device, fled, and remains at large); United
States v. Marcus Deloatch, 21-CR-457 (ENV) (defendant charged with Hobbs Act robbery cut

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             In short, the facts of this case cry out for detention. The defendant poses an
immediate and extreme risk of flight that no set of conditions can mitigate.




his location monitoring device and fled in advance of a bail revocation hearing); United States v.
Herman Baron, 21-CR-307 (NGG) (defendant charged with narcotics trafficking and COVID
fraud cut his location monitoring device and fled the jurisdiction approximately one hour before
his scheduled change-of-plea hearing; arrested five months later in the Northern District of
Georgia); United States v. Michael Artis, 20-CR-409 (PKC) (defendant released following a
violation of supervised release cut his location monitoring device and failed to appear at bail
revocation hearing); United States v. Charles May, 19-CR-539 (FB) (defendant charged with
armed robbery absconded while on home detention and remains at large); United States v.
Theressa Riddle, 17-CR-491 (JS) (defendant released on bond cut her location monitoring device
and did not appear for bond violation hearing); United States v. Sinmyah Amera Ceasar, 17-CR-
048, 19-CR-117, 22-CR-459 (KAM) (defendant cut her electronic monitoring device and tried to
flee the country after the Second Circuit ordered her resentenced and the government discovered
evidence of her violating release conditions); United States v. Guanghua Shen, 18-CR-302
(MKB) (defendant cut her electronic monitoring device at JFK Airport the day before she was
required to self-surrender to the Bureau of Prisons); United States v. Akmal Narzikulov, 13-CR-
601 (RJD) (defendant cut his electronic bracelet days after being released on bail); United States
v. Julian Tzolov, 08-CR-370 (JBW) (defendant in fraud scheme attempted to flee to Spain while
on location monitoring).



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 VI.    Conclusion

               For all of these reasons, the government respectfully requests that the defendant
 be detained pending trial.8


                                                      Respectfully submitted,

                                                      JOSEPH NOCELLA, JR.
                                                      United States Attorney

                                              By:      /s/ Matthew Skurnik
                                                      Matthew Skurnik
                                                      Assistant U.S. Attorney
                                                      (718) 254-6231



 cc:    Clerk of Court (by ECF)
        Defense Counsel (by ECF)




        8
          If the Court is not inclined to enter a permanent order of detention, the defendant should
 be temporarily detained for up to ten days pursuant to 18 U.S.C. § 3142(d) to allow the United
 States Citizenship and Immigration Services the opportunity to consider the defendant’s
 immigration status and whether he should be taken into administrative custody.




                                                 10
